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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

SBI CRYPTO CO., LTD.,                           §
                                                §
               Plaintiff,                       §
                                                §
v.                                              § CASE NO. 6:23-CV-00252-ADA-JCM
                                                §
WHINSTONE US, INC.,                             §
                                                §
               Defendant.                       §

                                             ORDER

       Before the Court is Defendant Whinstone US, Inc.’s Motion to Compel Discovery (ECF

No. 46) and the attendant responses and replies thereto. For the reasons stated below, the Court

ORDERS Plaintiff SBI Crypto Co., Ltd. to submit the withheld communications for in camera

review. The Court reserves ruling on Defendant’s Motion until it has reviewed the

communications in camera.

                                      I.      INTRODUCTION

       Plaintiff SBI is a cryptocurrency mining company that contracted by mutual agreement

with Defendant Whinstone, who operates a cryptocurrency mining facility and data center, to

conduct operations at Whinstone’s facility in Rockdale, Texas (the “Facility”). Pl.’s Am. Compl.

(ECF No. 11) at 2. SBI’s employees reported unsatisfactory conditions in violation of certain

contractual environmental warranties and representations after visiting the Facility. Id. at 11.

       SBI sued Whinstone for breach of contract, fraud/fraudulent inducement, and fraud by

nondisclosure and concealment. Id. at 16–17, 19. SBI seeks economic damages for lost profits

and damaged equipment, exemplary damages, attorney’s fees, and prejudgment and post-

judgment interest. Id. at 20–21.



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       Whinstone filed this Motion to Compel, focusing on written communications between

Jonathan Tanemori and Carson Smith involving this lawsuit. Def.’s Mot. Compel at 3. SBI

withheld six emails claiming they contain “[c]lient representative communications for the

provision of legal services” and attorney work product. Pl.’s Resp. at 4. As the Court noted in a

separate order, the parties have devoted dozens of pages and hours to recounting their discovery

disputes, and the Court need not summarize them here.

                                     II.     RELEVANT LAW

       Under Federal Rule of Civil Procedure 26(b)(1), parties “may obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense….” Discovery requests

must be proportional to case needs, “considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.” Id. “Relevant information need

not be admissible at the trial if the discovery appears reasonably calculated to lead to the

discovery of admissible evidence.” Id.

       In resolving discovery motions, a magistrate judge holds “broad discretion.” A.M. Castle

& Co. v. Byrne, 2015 WL 4756928, at *1 (S.D. Tex. Aug. 12, 2015). The party seeking

discovery bears the initial burden of showing the information sought is relevant to the action or

will lead to the discovery of admissible evidence. Export Worldwide, Ltd. v. Knight, 241 F.R.D.

259, 263 (W.D. Tex. 2006) (Counts, J.). Once the party seeking discovery establishes the

requested materials are within the scope of permissible discovery, the burden shifts to the party

resisting discovery to show why the discovery is irrelevant, overly broad, or unduly burdensome

or oppressive, and thus should not be permitted. Id.



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                                        III.    ANALYSIS

       Whinstone seeks written communications between Tanemori and Smith regarding this

lawsuit. Def.’s Mot. Compel at 3. SBI argues, to begin with, that Whinstone’s Motion to Compel

is untimely. Pl.’s Resp. at 5. SBI contends that the Court order Whinstone to file its Motion to

Compel within seven days of the September 16, 2024 discovery conference, and Whinstone filed

its Motion two days late. Id. The Court noted during the discovery conference that nothing

suggested that the requested emails are privileged. ECF No. 43. The Court permitted SBI to

submit the emails for in camera review if SBI wished to assert a privilege. Id. SBI has not done

so. Instead, SBI continues to argue that the emails are privileged because “the privilege extends

to former employees in certain contexts.” Pl.’s Resp. at 4 (emphasis added).

       Based on the sparse descriptions of the withheld communications, it is unclear whether

the attorney-client privilege applies to the emails between SBI’s former employees in this

context. Accordingly, the Court orders SBI to submit the withheld emails for in camera review.

The Court will reserve its ruling on Whinstone’s Motion to Compel until the Court has reviewed

the emails in camera.

                                      IV.      CONCLUSION

       For all these reasons, IT IS ORDERED THAT Plaintiff must submit the withheld

communications for the Court to conduct an in camera review. Plaintiff shall submit these emails

to the Court, via email to Ariana_Noshari@txwd.uscourts.gov, no later than the close of

business, 5:00 pm, on October 18, 2024. The Court will reserve its ruling on Whinstone’s

Motion to Compel (ECF No. 46) until it is able to review the emails in camera.

It is so ORDERED.




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SIGNED this 15th day of October 2024.




                                JEFFREY C. MANSKE
                                UNITED STATES MAGISTRATE JUDGE




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